                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        CRIMINAL DOCKET NO.: 3:05CR104

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )
                                          )                       ORDER
DEMON MONTICO MORRIS (13),                )
                                          )
            Defendant.                    )
_________________________________________ )

       THIS MATTER is before the Court on Defense Counsel’s Motion for Absence from

Status Conference, filed June 23, 2006. For the reasons stated in Defense Counsel’s Motion and

for good cause shown, the Court will grant Defense Counsel’s request.

       IT IS, THEREFORE, ORDERED that Defense Counsel’s Motion for Absence from

Status Conference is hereby GRANTED.



                                               Signed: June 26, 2006




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